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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

DANIEL FAORO,                           )
                                        )
            Plaintiff,                  )      Case No. 1:25-cv-289
                                        )
            v.                          )      Hon. Amy Berman Jackson
                                        )
JEWISH VOICE FOR PEACE, INC., et al.,   )
                                        )
            Defendants.                 )
                                        )
                                        )

DEFENDANT JEWISH VOICE FOR PEACE’S MOTION TO DISMISS PLAINTIFF’S
        COMPLAINT AND MEMORANDUM OF LAW IN SUPPORT
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                                        INTRODUCTION

       For more than a year and a half, individuals across the country and around the world,

including Defendants, have engaged in First Amendment protected activity opposing what they

view as the unjustified slaughter of Palestinians in Gaza by the state of Israel, which has left

more than 52,000 Palestinians dead, and many others homeless, wounded, or orphaned.1

Defendants and others have decried what they see as a genocide, a characterization shared by

United Nations committees, state governments around the world, and international human rights

experts.2 This increase in activism against Israel’s atrocities has been met with a retaliatory

backlash, of which this lawsuit is just one example.

       Plaintiff Daniel Faoro alleges that a demonstration in Washington, D.C. against the

Israeli military’s actions in Gaza “inconvenienced” him by causing him to be stuck in traffic for

less than an hour while he was on his way to work. For this inconvenience, he sues three

individuals and seven organizations, all of whom Plaintiff characterizes as active in the

Palestinian liberation movement, bringing claims for public nuisance and false imprisonment.

Plaintiff’s alleged injuries—the anxiety and inconvenience of being temporarily stuck in



1
  Death Toll in Gaza Rises to 52,000, Territory’s Health Ministry Says, as Israel Continues
Offensive, CBS NEWS, Apr. 27, 2025, https://www.cbsnews.com/news/war-gaza-israel-death-
toll-april-2025/.
2
  See, e.g. Report of the Special Committee to Investigate Israeli Practices Affecting the Human
Rights of the Palestinian People and Other Arabs of the Occupied Territories, at ¶ 69, U.N. Doc.
A/79/363 (Sep. 20, 2024),
https://documents.un.org/doc/undoc/gen/n24/271/19/pdf/n2427119.pdf; Francesca Albanese
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traffic—are not cognizable injuries that confer Article III standing. Moreover, Plaintiff fails to

state a claim for any of his purported causes of action: only governmental actors can maintain a

suit for public nuisance absent special injury, and being stuck in traffic does not constitute false

imprisonment under Washington, D.C. law. In short, this is not a lawsuit brought in good faith.

This is a targeted attack on a political movement that Plaintiff disagrees with. Plaintiff’s attempt

to wield civil litigation as a weapon against activists whose views he dislikes runs contrary to the

most fundamental values of this country enshrined in the First Amendment to the United States

Constitution. This Court should grant Defendant Jewish Voice for Peace’s motion to dismiss for

lack of standing or for failure to state a claim upon which relief can be granted.

                                  FACTUAL BACKGROUND

       Plaintiff alleges that on the morning of February 1, 2024, activists protesting in solidarity

with the people of Palestine, and against Israel’s actions in Gaza and the United States

government’s military support of those actions blocked several highways and roads at five

different locations in Washington, D.C., or leading into it. Dkt. 1, Complaint, ¶¶ 2, 28, 46.

According to Plaintiff, the purpose of the blockades was to “exert pressure on Congress and the

Biden administration to end arms sales to Israel.” Id. ¶ 28. The demonstrators blocked “most of

the major routes into downtown Washington, Foggy Bottom, and Capitol Hill.” Id. ¶ 29. Some of

the activists chained themselves together or linked their arms with PVC piping to block the road.

Id. ¶ 32. Others chanted slogans critical of the state of Israel. Id. ¶ 31. The blockades caused a

traffic jam, both on the highways and roads that were blockaded and on multiple side streets. Id.

¶¶ 30, 34. Police cleared the blockades and arrested 23 unidentified people, who are named as

John and Jane Doe Defendants, and charged them with offenses including “crowding,

obstructing, or incommoding.” Id. ¶ 33. The blockades lasted up to two and a half hours. Id. ¶ 34.



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       On the morning of the protest, Plaintiff Daniel Faoro was on his way from his home in

Virginia to his office in D.C. Id. ¶¶ 8, 35, 75. Because of the blockades, he was stuck in traffic

“without moving or barely moving” for less than an hour. Id. ¶ 36. Faoro was “on Route 50 near

where it curves past Fort Myer when he finally learned the cause of why he was stuck in traffic.”

Id. Faoro eventually was able to “navigate out of the blocked traffic” and went home. Id. The

experience caused him “[a]nnoyance, inconvenience, physical discomfort, anxiety and emotional

distress.” Id. ¶ 78. Plaintiff purports to bring this lawsuit on behalf of himself and a class of

similarly situated individuals. Id. ¶¶ 59–73.

       In addition to the 23 John and Jane Doe Defendants who were arrested at the protests,

Plaintiff sues Defendants “Jewish Voice for Peace d/b/a Occupation Free DC” (“JVP” and

“OFDC,” respectively),3 Dissenters, Palestinian Youth Movement (“PYM”), WESPAC

Foundation (“WESPAC”), Harriet’s Wildest Dreams (“HWD”), Party for Socialism and

Liberation (“PSL”), and Maryland2Palestine (“MD2P”) (collectively, “Organizational

Defendants”), who he alleges planned and organized the action. Id. ¶ 37. Plaintiff points to social

media posts made by some of the Organizational Defendants advertising a protest and general

strike at Union Station at 7:00 AM on the day of the blockades and listing some of the

Organizational Defendants as the organizers. Id. ¶¶ 42–45. According to Plaintiff, those posts

were intended to deceive law enforcement about the true locations of that day’s planned protests.

Id. ¶¶ 46, 54. Some of the Organizational Defendants also posted on social media in support of

the blockades and the arrestees during and after the protest. Id. ¶¶ 47–57. Plaintiff also alleges

that Defendants Dornethia “Nee Nee” Taylor, Brian Becker, and Hannah Shraim, hold leadership




3
  Plaintiff alleges that OFDC is an affiliate of the D.C. chapter of JVP (“JVP DC-Metro”) and
that JVP DC-Metro manages OFDC. Id. ¶ 10.
                                                   3
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roles in HWD, PSL, and MD2P, respectively. Id. ¶¶ 20, 22, 24. Plaintiff alleges that WESPAC is

liable for PYM’s actions because WESPAC is PYM’s fiscal sponsor. Id. ¶ 14–15.

                                           ARGUMENT

   I.        This Suit Should be Dismissed Under Fed. R. Civ. P. 12(b)(1) Because Being
             Stuck in Traffic for Less than an Hour Is Not a Concrete Injury that Confers
             Article III Standing

        Plaintiff’s lawsuit is doomed from the outset because he fails to satisfy the threshold

requirement of federal litigation: Article III standing. Article III of the U.S. Constitution “limits

the ‘judicial power’ of the United States to the resolution of ‘cases’ and ‘controversies,’” and the

doctrine of standing serves to identify those cases that are “appropriately resolved through the

judicial process.” Al-Aulaqi v. Obama, 727 F. Supp. 2d 1, 14 (D.D.C. 2010). Standing is a

“bedrock constitutional requirement” rooted in separation-of-powers principles that help

“safeguard the Judiciary’s proper—and properly limited—role in our constitutional system. By

ensuring that a plaintiff has standing to sue, federal courts prevent the judicial process from

being used to usurp the powers of the political branches.” United States v. Texas, 599 U.S. 670,

675–76 (2023) (internal citations and quotation marks omitted). A motion to dismiss for lack of

standing is analyzed under Federal Rule of Civil Procedure 12(b)(1). Al-Aulaqi, 727 F. Supp. 2d

at 13. Courts examining a Rule 12(b)(1) motion construe the complaint in favor of the

complaining party, but must give the factual allegations in the complaint “closer scrutiny” than

they would when resolving a Rule 12(b)(6) motion because subject-matter jurisdiction implicates

the Court’s power to hear the claim. Id. at 13–14; Hamilton v. Sanofi-Aventis U.S., Inc., 628 F.

Supp.2d 59, 62 (D.D.C. 2009). As the party invoking federal jurisdiction, Plaintiff bears the

burden of demonstrating that he has standing. TransUnion LLC v. Ramirez, 594 U.S. 413, 430–

31 (2021).



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        To have standing to sue in federal court, Plaintiff must demonstrate that he has suffered

an injury in fact that is “concrete and particularized.” See Friends of the Earth, Inc. v. Laidlaw

Environmental Services (TOC), Inc., 528 U.S. 167, 180 (2000); Spokeo, Inc. v. Robins, 578 U.S.

330, 339–40 (2016). A lawsuit may proceed only if the plaintiff suffered an injury “traditionally

thought to be capable of resolution through the judicial process.” Texas, 599 U.S. at 676.

Plaintiff’s allegations that he was stuck in traffic for less than an hour during his morning

commute into Washington, D.C., do not adequately plead such an injury. If they did, then

thousands of commuters would have a basis for federal litigation most days of the week, and

courts would have time for little else. See FDA v. Alliance for Hippocratic Medicine, 602 U.S.

367, 391 (2024) (declining to find plaintiffs had standing where doing so would open the

floodgates to a class of lawsuits that had not previously been recognized and would result in

empowering citizens to sue over virtually everything). In a major metropolitan area like D.C., the

potential causes of a 45-minute traffic backup during rush hour are too numerous to list. By

Plaintiff’s logic, anything from construction work to presidential motorcades to long trains could

be a basis for a federal class action lawsuit, provided they delay at least one person going to

work. Such an outcome would be ludicrous anywhere, but particularly in our nation’s capital,

which is the site of thousands of demonstrations a year, many of which have at least some impact

on traffic.4




4
 Marissa J. Lang, D.C. is Becoming a Protest Battleground. In a Polarized Nation, Experts Say
That’s Unlikely to Change, WASHINGTON POST, Jan. 1, 2021,
https://www.washingtonpost.com/local/washington-dc-protests/2021/01/01/da743c20-4a68-
11eb-839a-cf4ba7b7c48c_story.html (noting that D.C. averaged over 800 permitted
demonstrations annually, a figure that does not include the numerous unpermitted protests that
happen every year).
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        Plaintiff’s Complaint has very little to say about his purported injuries. In his

85-paragraph Complaint, Plaintiff included a sum total of two paragraphs that pertain to his

experience on the day of the protest. Dkt. 1 ¶¶ 35–36. He asserts three categories of supposed

damages in the “claims” section of his Complaint. Id. ¶¶ 78, 82. First, he alleges that he and

other members of his purported class suffered “[l]oss of wages or income,” but there are no facts

to support that Plaintiff suffered any financial injury. Id. Indeed, Plaintiff does not even state

what he does for a living or that he missed any work, let alone maintain that he lost any wages.

In fact, Plaintiff declares that after being stuck in traffic for less than an hour, rather than

continue to his office, he went home. Id. ¶ 36. There is nothing in the Complaint to suggest that

Plaintiff suffered any monetary harm as a result of the protest.

        Plaintiff’s unsupported speculation that other unidentified members of his purported class

may have lost wages or income does not create a particularized injury that would support Article

III standing for Plaintiff. The D.C. Circuit has recognized that “the possibility that other

members of the class might have had standing had they brought suit does not thereby confer

standing on the named representatives; the actual plaintiffs must show that they have personally

suffered an injury redressable by the courts.” American Jewish Congress v. Vance, 575 F.2d 939,

944 (D.C. Cir. 1978) (citing Warth v. Seldin, 422 U.S. 490, 502 (1975)). “Even in the class-

action context, all named Plaintiffs must allege and show that they personally have been injured,

not that injury has been suffered by other, unidentified members of the class to which they

belong and which they purport to represent.” In re Science Applications International Corp.

(SAIC) Backup Tape Data Theft Litigation, 45 F. Supp. 3d 14, 23 (D.D.C. 2014)) (quoting

Warth, 422 U.S. at 502).




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       Second, Plaintiff alleges that he suffered emotional harms: annoyance, inconvenience,

discomfort, anxiety, and emotional distress from being stuck in traffic. Dkt. 1, ¶¶ 78, 82.

However, “emotional harm—in and of itself—is not sufficient to satisfy Article III’s injury in

fact requirement.” Al-Aulaqi, 727 F. Supp. 2d at 25 (citing Humane Soc’y of U.S. v. Babbitt, 46

F.3d 93, 98 (D.C. Cir. 1995)). Rather, “a plaintiff can only establish an Article III injury in fact

based on emotional harm if that alleged harm stems from the infringement of some legally

protected, or judicially cognizable, interest that is either recognized at common law or

specifically recognized as such by the Congress.” Id. (internal citations and quotation marks

omitted). Here, Plaintiff has not asserted any statutory claims, so standing based on his alleged

emotional harms must derive from an interest recognized at common law, and there is no such

interest. The Restatement of Torts states that “the public is merely privileged to travel the public

highways and has not a right to do so; that is, the interest of the members of the public in such

travel is not protected by a right of action.” Restatement (Second) of Torts § 36, comment d

(1965). Traffic is an unfortunate but unavoidable fact of life, and the existence of a temporary

traffic jam, while undeniably annoying, is not the type of annoyance in which the law intervenes.

       Finally, Plaintiff alleges that he suffered damages because he lost time that he could have

spent doing something else. Dkt. 1 ¶ 78. But “loss of time and convenience is not generally

sufficient to establish standing.” Armstrong v. Navient Solutions, LLC, 292 F. Supp. 3d 464, 474

(D.D.C. 2018); US Ecology, Inc. v. U.S. Dept. of Interior, 231 F.3d 20, 25 (D.C. Cir. 2000)

(party’s “disappointment at having invested—and perhaps lost—time and money” in a proposed

project that did not come to fruition was insufficient, without more, to establish standing);




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see also Alliance for Hippocratic Medicine, 602 U.S. at 390–91 (no standing based on law

requiring doctors to divert time and resources to treat certain patients).5

          Because Plaintiff does not plausibly plead an injury that would confer Article III

standing, this lawsuit must be dismissed pursuant to Rule 12(b)(1).

    II.        All of Plaintiff’s Claims Should Be Dismissed Pursuant to Fed. R. Civ. P 12(b)(6)
               for Failure to State a Claim Upon Which Relief Can Be Granted

          In the alternative, Plaintiff’s Complaint should be dismissed pursuant to Federal Rule of

Civil Procedure 12(b)(6) for failure to state a claim upon which relief can be granted. To survive

a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (internal quotation marks and citations omitted). The “plausibility standard”

asks for “more than a sheer possibility that a defendant has acted unlawfully.” Id. While detailed

factual allegations are not required, the complaint must contain more than mere “labels and

conclusions or a formulaic recitation of the elements of a cause of action.” Id. (cleaned up). “Nor

does a complaint suffice if it tenders naked assertions devoid of further factual enhancement.” Id.

Courts need not accept “a legal conclusion couched as a factual allegation,” nor need they

“accept inferences that are unsupported by the facts set forth in the complaint.” Id.; Al-Aulaqi,

727 F. Supp. 2d at 13. Neither of Plaintiff’s claims against Defendant JVP state a plausible claim

for relief.6




5
  Plaintiff also asserts he suffered “loss of personal freedom.” Dkt. 1 ¶ 82. As discussed in
greater detail below in Section II(b), Plaintiff’s Complaint makes clear that he did not suffer any
loss of freedom, and his frivolous assertions to the contrary cannot establish Article III standing.
See Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 89 (1998).
6
  Plaintiff’s Count III, for Negligence or Recklessness, was brought solely against Defendant
WESPAC.
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           a. Plaintiff Fails to State a Claim for Public Nuisance (Count I)

       Count I charges the Defendants with conspiring to create a public nuisance. Dkt. 1 ¶¶ 74–

79. A public nuisance is defined under Washington, D.C., law as “an unreasonable interference

with a right common to the general public.” B & W Management, Inc. v. Tasea Inv. Co., 451

A.2d 879, 881 (D.C. 1982) (citing Restatement (Second) of Torts § 821B(1) (1979)). “At

common law, the term ‘public nuisance’ covered a variety of minor criminal offenses that

interfered, for example, with the public health, safety, morals, peace, or convenience.” Id. Well-

established law emphasizes that, absent statutory authorization, “only governmental authorities

or other representatives of the general public have standing to attack a public nuisance in court.”

Id. at 882. A private party such as Plaintiff has standing to pursue an action for public nuisance

only if he suffered “special damage, distinct from that common to the public.” Id. “It is not

enough that he suffers the same inconvenience or is deprived of the same enjoyment . . . as

everyone else who may be exercising the same public right.” Restatement (Second) of Torts

§ 821C, comment a (1979).

       Plaintiff cannot maintain an action for public nuisance because he has not alleged that he

suffered any special injury distinct from the general public. See Holloway v. Bristol-Myers

Corp., 327 F. Supp. 17, 24 (D.D.C. 1971) (dismissing public nuisance claim where plaintiff

failed to allege that she suffered any special damage). On the contrary, Plaintiff has explicitly

alleged that he experienced the same harm as thousands of other drivers on the road: annoyance

and inconvenience from being stuck in traffic. Dkt. 1 ¶¶ 63, 78 (alleging Plaintiff “and class

members” suffered the same damages as a result of the alleged public nuisance); ¶ 66 (alleging

that thousands of purported class members suffered damages “of the same type” as Plaintiff’s).

The Restatement of Torts explicitly rejects Plaintiff’s claim and the types of injuries he alleges he



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suffered (delay and inconvenience) as injuries that can confer standing for public nuisance in the

context of highway obstruction:

        When a highway is obstructed, the delay or inconvenience of a detour is a kind of harm
        suffered by any member of the public who travels that way. The delay or inconvenience
        suffered by a particular plaintiff, even though it may be greater in degree, is not particular
        harm of a different kind and will not support an action for the public nuisance. It is only
        when the plaintiff is able to prove that by reason of the delay he has been put to special
        expense of a different kind that he can recover on the basis of the particular harm.

Restatement (Second) of Torts § 821C, comment i (1979). The D.C. Court of Appeals has

adopted the Restatement formulation of nuisance law. National Telephone Co-op. Ass’n v. Exxon

Corp., 38 F. Supp. 2d 1, 13 (D.D.C. 1998). Accordingly, Plaintiff’s claim is thoroughly

foreclosed by D.C. law.

        In addition, D.C. courts have concluded that nuisance “is not a separate tort in itself but a

type of damage, and the plaintiff must recover, if at all, on the theory of negligence or some

other tort.” Jonathan Woodner Co. v. Breeden, 665 A.2d 929, 934 (D.C. 1995) (cleaned up).

Claims of nuisance as an independent tort have “not been viewed favorably” by the D.C. Court

of Appeals. District of Columbia v. Beretta, U.S.A., Corp., 872 A.2d 633, 646 (D.C. 2005). An

intentional interference with a right (as Plaintiff alleges here) is actionable as a nuisance only if it

is otherwise tortious. Ortberg v. Goldman Sachs Group, 64 A.3d 158, 167 (D.C. 2013). Here,

Plaintiff has not alleged any underlying tort against JVP other than the false imprisonment claim

which, as discussed below, is not a valid claim. Therefore, the lack of a viable separate basis for

tort liability provides an additional reason why Plaintiff’s public nuisance claim fails.

        Furthermore, allowing a civil action for public nuisance to proceed based on the conduct

and injuries alleged here would significantly curtail people’s ability to protest in public streets.



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Most protest marches inevitably cause some traffic and disruption of drivers’ ability to travel on

the streets. Nevertheless, the U.S. Supreme Court has emphasized that public streets occupy a

“special position in terms of First Amendment protection.” United States v. Grace, 461 U.S. 171,

180 (1983). The Supreme Court has “repeatedly referred to public streets as the archetype of a

traditional public forum, noting that time out of mind public streets and sidewalks have been

used for public assembly and debate.” Snyder v. Phelps, 562 U.S. 443, 456 (2011) (internal

quotation marks omitted). If Plaintiff’s public nuisance claim is allowed to proceed, then any

motorist who is inconvenienced by a demonstration could pursue civil litigation. Such a result

would embolden any driver who dislikes the content of a protest to act as a civil vigilante, using

the law as a weapon to silence protesters and creating a dangerous chilling effect on individuals’

ability to exercise their First Amendment rights. That outcome cannot be tolerated in a nation

that holds free expression among its most fundamental values. See United States v. Alvarez, 567

U.S. 709, 723 (2012) (“The mere potential for the exercise of [censorial] power casts a chill, a

chill the First Amendment cannot permit if free speech, thought, and discourse are to remain a

foundation of our freedom.”).

       Plaintiff cannot maintain a claim for public nuisance and Count I should be dismissed.

           b. Plaintiff Fails to State a Claim for False Imprisonment (Count II)

       Count II alleges that, by causing him to be stuck in traffic for less than an hour, the

Defendants falsely imprisoned him in his car. Dkt. 1 ¶¶ 36, 80–83. Under D.C. law,7 false



7
 Defendant JVP has applied D.C. law to this claim because of the choice of venue and because
the majority of the alleged conduct occurred in D.C., but acknowledges some ambiguity in the
Complaint as to whether the alleged “false imprisonment” occurred in D.C. or Virigina, i.e. if
Plaintiff was stuck in traffic in D.C., Virginia, or both. However, D.C. and Virginia law do not
meaningfully diverge, and Defendants would prevail regardless of which law applies.
See Abourezk v. New York Airline, Inc., 705 F. Supp. 656, 659 (D.D.C. 1989) (concluding D.C.
and Virginia law did not conflict as to false imprisonment claim).
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imprisonment is defined as “the restraint by one person of the physical liberty of another without

consent or legal justification.” Faniel v. Chesapeake & Potomac Tel. Co. of Maryland, 404 A.2d

147, 150 (D.C. 1979). The elements of the tort of false imprisonment are “(1) the detention or

restraint of one against his will, within boundaries fixed by the defendant, and (2) the

unlawfulness of the restraint.” Id. To constitute imprisonment, the restraint on the plaintiff’s

freedom of movement must be “total.” Id. at 151 (citing Restatement (Second) of Torts §§ 35, 36

(1965)). The confinement required to state a false imprisonment claim can be accomplished

through (1) actual or apparent physical barriers, (2) overpowering physical force or submission

to physical force, (3) threats of physical force, (4) other sufficiently severe duress, e.g., threats to

harm a family member, or (5) taking the person into custody under asserted legal authority. Id. at

151 n.11 (citing Restatement (Second) of Torts §§ 38–41 (1965)). In determining whether a false

imprisonment has occurred, the relevant inquiry is not the subjective state of mind of the

plaintiff, but rather the “actions or words of the defendant which must at least furnish a basis for

a reasonable apprehension of present confinement.” Dent v. May Dep’t Stores Co., 459 A.2d

1042, 1044 (D.C. 1982) (cleaned up, emphasis in original). It is not enough for the plaintiff to

feel “mentally restrained” by the actions of the defendant. Faniel, 404 A.2d at 151.

        Plaintiff’s allegations that he was briefly stuck in traffic plainly do not come close to

pleading the elements of false imprisonment. Plaintiff has not alleged that he was restrained or

confined anywhere, let alone that any such restraint was “total.” On the contrary, Plaintiff

alleged that he continued moving intermittently and was eventually able to navigate out of the

traffic jam and go home. Dkt. 1 ¶ 36; see Valle v. Karagounis, No. 22-7167, 2024 WL 3738445,

at *6 (D.C. Cir. Aug. 9, 2024) (no false imprisonment claim where plaintiffs were not actually

restrained, but rather were “able to leave”); Martinez v. Constellis/Triple Canopy, No. 20-cv-153



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(RC), 2021 WL 1226747, at *4 (D.D.C. Apr. 1, 2021) (no false imprisonment claim where

plaintiff’s “own factual description suggests that he was able to walk away from the situation”).

       Plaintiff’s Complaint does not contain a single allegation that there was any actual or

apparent physical barrier or use or threat of force by anyone involved in the protest that confined

him anywhere. Indeed, he was apparently so far away from the blockade that it was some time

before he could even see the protesters, let alone be threatened by them. Dkt. 1 ¶ 36. There is

nothing in his complaint that suggests that Plaintiff was not free at all times to navigate out of the

traffic jam (as he eventually succeeded in doing). Again, in the end Plaintiff was able to drive out

of the traffic and go home; there is no allegation in his Complaint that the protesters threatened

or physically impeded him from doing so. In addition, nothing suggests that any action by the

protesters prevented Plaintiff from pulling over and getting out of his car. Courts applying D.C.

law have repeatedly held that voluntarily choosing to remain in a car does not constitute false

imprisonment. See Faniel, 404 A.2d at 152–53; Martinez, 2021 WL 1226747, at *4.

       The Restatement of Torts explicitly rejects Plaintiff’s theory that obstructing a highway

constitutes false imprisonment:

       In order to make the actor liable for false imprisonment, . . . it is necessary that he shall
       have confined another in a particular area, the boundaries of which are fixed by the will
       of the actor. It is not enough that the other’s freedom of movement has been improperly
       restricted. Thus, one who blocks off a highway, intending to prevent the public from
       passing along it, is not liable for false imprisonment to one whose privilege to use the
       highway has been thus denied. Indeed, the actor does not incur any liability by so doing.

Restatement (Second) of Torts § 36, comment d (1965). Courts in this Circuit routinely apply the

Restatement to false imprisonment claims. See, e.g. Faniel, 404 A.2d at 151; Jones v. District of

Columbia, No. 16-cv-2405 (DLF) 2019 WL 5690341, at *5 (D.D.C. June 13, 2019). At bottom,



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being stuck in traffic does not constitute false imprisonment. See Gable v. Universal Acceptance

Corp., 338 F. Supp. 3d 943, 957 (E.D. Wis. 2018) (parking tow truck behind plaintiff’s car so

plaintiff could not back up was not false imprisonment because plaintiffs were “free to leave

their car”); see also Brendlin v. California, 551 U.S. 249, 262 (2007) (noting, in Fourth

Amendment context, that being stuck in traffic as a result of a police officer pulling over

someone else posed only “incidental restrictions on freedom of movement” and did not

constitute a seizure).

        Plaintiff’s false imprisonment claim is frivolous and should be dismissed.

            c. To the Extent Plaintiff Pleads a Civil Conspiracy Claim, He Fails to State a
               Claim

        Plaintiff’s Complaint is titled “Verified Complaint for Conspiracy” and he repeatedly

refers to a “conspiracy” and “co-conspirators” in his allegations. Dkt. 1 ¶¶ 1–2, 7, 28–29, 35, 37–

58, 65, 76, 81. However, Plaintiff did not plead a separate claim for civil conspiracy. To the

extent he seeks to assert one, he has failed to state a claim. First, it is long-settled law in D.C.

that “civil conspiracy is not actionable as a stand-alone claim.” J.H.C. by Clarke v. District of

Columbia, No. 20-cv-1761 (CRC) 2021 WL 4462359, at *6 (D.D.C. Sept. 29, 2021); see also

Nader v. Democratic National Committee, 567 F.3d 692, 697 (D.C. Cir. 2009). Because

Plaintiff’s underlying claims for public nuisance and false imprisonment are not cognizable, any

derivative conspiracy claim necessarily fails as well. J.H.C., 2021 WL 4462359, at *6.

        Second, even if Plaintiff had stated a valid underlying tort claim, he has failed to

plausibly allege a conspiracy. Under D.C. law, a civil conspiracy claim requires “(1) an

agreement between two or more persons; (2) to commit an unlawful action, or to commit a

lawful act by unlawful means; (3) an injury caused by an unlawful overt act performed by one of

the parties to the agreement; and (4) the overt act was done pursuant to a common scheme.” Id.

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Here, Plaintiff has entirely failed to allege an agreement between two or more parties. The

existence of an agreement between two or more people is the “essential element of a conspiracy

claim.” Kurd v. Republic of Turkey, 374 F. Supp. 3d 37, 51 (D.D.C. 2019) (internal citations and

quotation marks omitted). “To establish the existence of an agreement, the plaintiff must set forth

more than just conclusory allegations of the agreement,” they must provide “facts to support its

existence.” Id. at 51–52. Plaintiff’s allegation that the Defendants “agreed” to blockade traffic is

wholly conclusory and unsupported by any factual allegations. Dkt. 1 ¶ 37; see Brady v.

Livingood, 360 F. Supp. 2d 94, 104 (D.D.C. 2004) (allegations that defendants “agreed among

themselves” were insufficient to plead agreement for purposes of a conspiracy claim); Mattiaccio

v. DHA Group, Inc., 20 F. Supp. 3d 220, 230–31 (D.D.C. 2014) (dismissing conspiracy claim

where allegations of agreement were conclusory, unsupported, and provided no “indication of

when or how such an agreement was brokered”).

       Plaintiff relies on a flyer posted on social media listing some of the Organizational

Defendants as the organizers of an action at Union Station at 7:00 a.m. on the morning of

February 1, 2024—a separate protest from the relevant traffic blockades. Id. ¶¶ 42–45.

Plaintiff’s unsupported speculation that the flyer about a different protest was intended to draw

law enforcement attention away from the traffic blockades is insufficient to raise a plausible

inference that the Defendants reached an agreement to orchestrate the blockades. Id. ¶ 46;

Harvey v. Kasco, 109 F. Supp. 3d 173, 178 (D.D.C. 2015) (noting that “bald speculation” is

insufficient to support a claim for conspiracy at the motion to dismiss stage). Otherwise, Plaintiff

relies entirely on allegations that Defendants reshared each other’s social media posts supporting

the protest during and after the action, but merely resharing social media posts does not

constitute a conspiracy. Id. ¶¶ 47–57. To hold otherwise would mean that anyone who shared a



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post made by somebody else about an ongoing current event could be held liable for that event as

a conspirator, an absurd result. Alleging that multiple groups and individuals care about and

engage in advocacy around similar issues is insufficient to plead an agreement to establish the

existence of a conspiracy. See Kurd, 374 F. Supp. 3d at 52 (allegations that defendants acted in a

“coordinated fashion” and had a “common goal” were insufficient to plead agreement, as the

allegations merely pled “parallel conduct that could just as well be independent action”); Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 556–57 (2007) (“Without more, parallel conduct does not

suggest conspiracy”).

    III.      Plaintiff’s Lawsuit Is Retaliatory, Sanctionable, and Should be Dismissed with
              Prejudice

           Plaintiff has clearly targeted Defendants not because he has cognizable legal claims, but

based on their advocacy on issues of public interest.8 He is suing Defendants because of a protest

against Israel’s actions in Gaza, an issue of great public interest. This suit also comes on the

heels of a number of similar retaliatory lawsuits targeting activists critical of Israel being filed

around the country, suggesting that this suit was not motivated by Plaintiff’s desire to be

compensated for his alleged injuries but is rather part of a nationwide strategy to inundate

Palestine solidarity activists with expensive, time-consuming litigation. See, e.g. Gerwaski v.

State ex rel. Board of Regents of the Nevada System of Higher Education, No. 2:24-cv-00985-

APG-MDC, 2025 WL 1294107, at *8–10 (D. Nev. May 5, 2025) (dismissing claims against

Palestine solidarity protesters under Nevada’s anti-SLAPP law); Parizer et al. v. AJP Education



8
 Under the law of this Circuit as it currently stands, D.C.’s Anti-SLAPP Act, D.C. Code
§§ 16-5501–16-5505, is not applicable in federal court. Abbas v. Foreign Policy Group, LLC,
783 F.3d 1328, 1333–37 (D.C. Cir. 2015); Tah v. Global Witness Publishing, Inc., 991 F.3d 231,
238–39 (D.C. Cir. 2021). However, it bears noting that this lawsuit meets the Anti-SLAPP Act’s
definition of a Strategic Lawsuit Against Public Participation (“SLAPP”), and if this suit were
brought in the D.C. Superior Court, Plaintiff would seek relief under that statute.
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Foundation et al., No. 1:24-cv-724 (E.D. Va. July 9, 2024); Schnaider v AMP, et al., No. 24-cv-

1067 (M.D. Fla. May 2, 2024); Pollak, et ano. v. CodePink Women for Peace, et al., No. 2:24-

cv-6253 (C.D. Cal. July 24, 2024).

       Indeed, the same law firm that represents Plaintiff in this case filed an extremely similar,

equally meritless lawsuit in Chicago against JVP and other organizations opposed to Israel’s

actions in Gaza, in which the plaintiff railed at length about his pro-Israel view of the geo-

political history of the occupation of Palestine and argued that all advocacy in solidarity with the

people of Palestine is undertaken at the behest of Hamas. See Manhart v. National Students for

Justice in Palestine, et al., No. 24-cv-8209, Dkt. 69, Second Amended Complaint ¶¶ 22–37

(N.D. Ill. Jan. 29, 2025). While the Plaintiff here did not indulge in such rantings, the political

motivations of this lawsuit are nonetheless obvious. Plaintiff’s counsel’s web page related to this

lawsuit specifically solicits plaintiffs who were “injured by ‘anti-Zionist’ traffic blockades” or

“anti-Israel activists.”9 It is apparent that Plaintiff would not be pursuing this lawsuit if he had

become stuck in traffic because of any of the numerous apolitical reasons that people find

themselves in traffic every day, or as a result of a protest or parade for a cause he supports.

       Plaintiff’s effort to silence protesters whose message he disagrees with offends this

nation’s core values as embodied by the First Amendment to the United States Constitution.

“The central commitment of the First Amendment . . . is that debate on public issues should be

uninhibited, robust, and wide-open.” Bond v. Floyd, 385 U.S. 116, 136 (1966) (cleaned up).

While Plaintiff may have found the protesters’ message offensive, it is a “bedrock principle”

underlying the First Amendment that speech “cannot be restricted simply because society finds




9
 Hamilton Lincoln Law Institute, Faoro v. Jewish Voice for Peace Inc., et al.
https://hlli.org/faoro-v-jvp/ (last accessed June 9, 2025).
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the idea itself offensive or disagreeable.” Snyder, 562 U.S. at 458. “Speech is often provocative

and challenging. . . . [But it] is nevertheless protected against censorship or punishment, unless

shown likely to produce a clear and present danger of a serious substantive evil that rises far

above public inconvenience, annoyance, or unrest.” City of Houston, Tex. v. Hill, 482 U.S. 451,

461 (1987).

        Because no amendment can cure the fact that this is a meritless, retaliatory lawsuit

brought for the improper purpose of harassing Defendants and suppressing their political

movement, Defendant JVP respectfully submits that this case should be dismissed with

prejudice. See Firestone v. Firestone, 76 F.3d 1205, 1209 (D.C. Cir. 1996) (dismissal with

prejudice warranted where “the allegation of other facts consistent with the challenged pleading

could not possibly cure the deficiency”) (internal citations and quotation marks omitted).

        This Court also should consider imposing sanctions pursuant to 28 U.S.C. § 1927, which

provides that “[a]ny attorney or other person admitted to conduct cases in any court of the United

States or any Territory thereof who so multiplies the proceedings in any case unreasonably and

vexatiously may be required by the court to satisfy personally the excess costs, expenses, and

attorneys’ fees reasonably incurred because of such conduct.” The conduct of Plaintiff’s counsel

in bringing this lawsuit and other similar lawsuits—with frivolous claims intended solely to

harass individuals and organizations whose politics Plaintiff and his counsel oppose—is

sanctionable conduct. Section 1927 sanctions are warranted where there was “evidence of

recklessness, bad faith, or improper motive” present in the attorney’s conduct. LaPrade v. Kidder

Peabody & Co., Inc., 146 F.3d 899, 906 (D.C. Cir. 1998). “A court may infer this malicious

intent from a total lack of factual or legal basis in an attorney’s filings.” Hall v. Dept. of

Homeland Security, 219 F. Supp. 3d 112, 119 (D.D.C. 2016), aff’d, No. 17-7008, 2017 WL



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2348158 (D.C. Cir. May 17, 2017) (cleaned up). Sanctions under Section 1927 are warranted

where the attorney’s conduct was “at least reckless,” i.e., “the attorney in question acted

recklessly or deliberately.” Robertson v. Cartinhour, 883 F. Supp. 2d 121, 125 (D.D.C. 2012),

aff’d, 554 F. App’x. 3 (D.C. Cir. 2014) (imposing Section 1927 sanctions). Here, the Plaintiff’s

claims against JVP suffer from a total lack of factual or legal basis, since the Plaintiff not only

lacks standing to bring those claims, but also failed to state any viable claim as a matter of law.

       Alternatively, this Court should consider imposing sanctions pursuant to its “inherent

authority to impose sanctions necessary to achieve the orderly and expeditious disposition of

cases before it.” Hall, 219 F. Supp. 3d at 119 (citing Chambers v. NASCO, Inc., 501 U.S. 32, 46–

47 (1991)). “[A] federal court may sanction an attorney who has acted in bad faith, vexatiously,

wantonly, or for oppressive reasons.” Id. (cleaned up). Inherent authority sanctions may include

“contempt citations, fines, awards of attorney fees, and such other orders and sanctions as the

court finds necessary.” Id. Here, sanctions are warranted pursuant to this Court’s inherent

authority because Plaintiff’s attorneys acted in bad faith and for oppressive reasons by targeting

JVP based on their disagreement with JVP’s First Amendment protected advocacy. Plaintiff’s

attempt to use the legal system to retaliate against JVP and others for their political activity

cannot be countenanced and should be loudly condemned with every tool at the Court’s disposal.

                                          CONCLUSION

       For the foregoing reasons, this Court should grant Defendant Jewish Voice for Peace’s

Motion to Dismiss and award sanctions including attorneys’ fees and costs.




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Dated: June 16, 2025                       Respectfully submitted,


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